           Case 1:19-vv-00024-UNJ Document 39 Filed 02/01/21 Page 1 of 4


                                               CORRECTED

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0024V
                                          UNPUBLISHED


    JOLENE SNYDER,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: November 24, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

        On January 4, 2019, Jolene Snyder filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury, meeting the
definition of a Table SIRVA (shoulder injury related to vaccine administration) after
receiving the influenza vaccination on October 31, 2017. Petition at 1, ¶¶ 1, 6. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On February 28, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. On November 24, 2020, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$68,022.86, representing $67,500.00 for her pain and suffering and $522.86 for her past

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-00024-UNJ Document 39 Filed 02/01/21 Page 2 of 4



out-of-pocket expenses. Proffer at 1. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $68,022.86, representing $67,500.00 for her pain and suffering and
$522.86 for her actual unreimbursable expenses in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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              Case 1:19-vv-00024-UNJ Document 39 Filed 02/01/21 Page 3 of 4




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

*************************************
JOLENE SNYDER,                      *
                                    *
                  Petitioner,       *                         No. 19-24V
                                    *                         Chief Special Master Corcoran
v.                                  *
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

                RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On February 28, 2020, respondent filed a Rule 4(c) Report, conceding that petitioner’s

claim meets the Table criteria for a SIRVA injury. On that same day, the Court issued a Ruling

on Entitlement finding petitioner entitled to compensation under the Vaccine Act.

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

the following, and requests that the Chief Special Master’s decision and the Court’s judgment

award:

         1.       A lump sum payment of $67,500.00, which represents compensation for pain and
                  suffering, see 42 U.S.C. § 300aa-15(a)(4), and

         2.       A payment of $522.86, which represents compensation for past out-of-pocket
                  medical expenses, see 42 U.S.C. § 300aa-15(a)(1).

         These amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.



1
  Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future pain
and suffering.
         Case 1:19-vv-00024-UNJ Document 39 Filed 02/01/21 Page 4 of 4




II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that petitioner be awarded a lump sum payment of $68,022.86, in the

form of a check payable to petitioner. Petitioner agrees.

                                                     Respectfully submitted,

                                                     JEFFREY BOSSERT CLARK
                                                     Acting Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     ALEXIS B. BABCOCK
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                     /s/ DEBRA A. FILTEAU BEGLEY
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                                                     U.S. Department of Justice
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Dated: November 24, 2020




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